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EXHIBIT F
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G4 pWoooll
UNTTED STATES DYSTRIC?P COURT
SOUTHERN DESTRICT OF NEW YORK

Te ne ne

UN ETED STATES OF AMERICA,
We Q5 CR 1139 (DAB
DAVIED COOPER,
Defendant.

f

New York, NY.
April #5, 2006
Li:l& a.m,
Before:
HON. DEBORAH A, BATTS,

District Judge

APPEARANCES

MICHAEL od. GARCTA
Unitecl States Attorney for the
strick of New York

   

 

seuthern It
REED M. BRODSKY
JOCELYN STRAUBIER

Assistant United States Attorneys

ROBERT M. BAUM

Attorney for Defendant

ALSO PRESENT: MECHARL RODRIGUEZ, NYP

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SOUTHERN DISTRICT REPORTERS, PLC. (212) sO05-0300
 

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64pWoool

(Case cal led)

{In open court)

THE COURT; United States of America v. David Cooper.
is the government ready?
STRAUBER: Yes. Good morning, your Honor.
Jocelyn Sthrauber, for the government.
THE COURT: Good morning, Ms. Strauber.
MS. STRAUBER: With me counsel tal
sates Attorney Reed Brodsky and Detective Michael
of the NYPD.

THE COURT: And on behalf of Mr. Cooper, we have
Mr. Robert Baum, Good morning,

MR. BAUM: Good morning, your Honer. Welre ready

 

 

     
 

United
Rectrique

  
   

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oa
proceed .

THE COURT: Mr. Cooper, good morning te you.

THE DEPENDANT: Good morning.

THis COURT; We're here on the motion of Mr. Cooper to
cements and evidence that wer Laecd from him,
The government has agreed that a suppression hearing is
appropriate, and tl is why wetre here. Now, | imagine the
way ¢ ad Le perhaps to start with the government putting
Gr ibs case,

MS. STRAUBER: Yes, your Henor.

THE COURT: All right. Who is your first witness?

Oh, @xcuse me, he you want to have an opening?
SOUPHERN DISTRICT REPORTERS, PLC. (212) 805-0300

  

 

     
  

   

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BA pWoooh
MS.

hag
r

STRAUBER:

SeTUMenk en, the

  
 

  
 

ho oper.
THE COURT:

 

2G a ry
Good .
witness?
MS. STRAUBBR:
is Off
its
THE COURT:
HOLL DELOREN,
called as a witness by
having been duly sworn,
DIRECT EXAMENAT TON
BY MS. STRAUBER:
Q@. Officer Deleoren,
A. New York City Police
Q-. What is your present
Department ?
A. I'm a police officer

First

   
   

par kme
AGL

 

 

  

whe do

Unless
government

Your
jeer Ellis BDeloren of the New York City Pelice

Department.
position with the New York City Police

like the
Lt's

would
mot think

Court
does

the

    

Okay. ALL right. So who is your

Honer, the government's first

 

right.

the Gove
bhestified as

grnment,
fallows:

 

 

YOU WOE R

 

assigned to the Bronx Anticrime Unit.

O. How bong have you been a police officer?

AY

Approximately seven year

S.

QO. How long have you been assigned to the Bronx Anticrime

Unit?
A. Approximakely one year,
Q. And where

SOUTHERN DISTRICT

 

were you assigned before that?
REPORTE

Ro, FC. (212) 805-0300
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G64 pWaooH Deloren - direct
L A. To the 40th Precinet.
2 Q. And what were your responsibilities, just briefly, when you
3 worked in the 40th Pr ine?
4 A. First PT was assiqned to uniform patrol, and then for two
5 years IT was assiqned to the 40th Precinet Anticrime Unit.
6 oO. In the anticrime unit, what did you do?
7 A. Plain clothes patrol in the confines of the 40th Preeinet.

S, as well]

 

 
   

 

  

Bea
te

bed

 

were to respand to crimes in progres
a Aas concent re arcoaties and firearms.
Q. Please fly describe your current x
the Bronx Anticrime Unit.
A. The same as they were when ~ was in the 4-0 anticrime unit
escept now it's boroughwide.
QO. During your years as an officer, approximately how many
arres have you made?
A. Upwards of 2700,
Q. And how many of those arrests, approximately, were for
offenses involving drugs?
A. FT would say approximately three dozen.
QO. And how many of those arrests, roximately, were for

3 invelving firearms?
robably about two dozen.
23 O. Officer, directing your attention to the night of September
ad &, 2005, were you working that evening?
25 A. Yes.

SOUTHERN DISTRICT REPORTERS, Plc. {212} 805-0300

      
 

 

 

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of fer

  
   
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5
G4 pWcaoH Delaren ~- direct
i QO. And at what time dic you start your tour of duty?
2 &, G:30 pom.
3 QO. Wl @ were you working?
4 A. In the confines of the 47th Precinet.

 
 
 

5 Q. And what wer you doing?
Plain clethes anticrime patrol.

you Om patroekl on foot er in a car?
{3 &. No. An unmarked car
QO. And were you alone
A. J was with two other
Officer Sean Lynch.
Q. Ab around 1] p.m. that evening, where were you?
A. At about i lo was stopped at a red dight, heading
westbound on : 2 at Bronx Boulevard.
Oo. And in what seat were you sitting?
A. J was driving.
O. The area that you were in, are you familiar with that area?
A, Yes.
QO. And how are you familiar with it?
A. I've worked there before,
Oo. And can you describe thab area for the Court?
A. Tt's @ residential area. However, it ig high crime in that
it ois, has a lot of robberies, a lot of shootings, and also a
let of drugs, especially with its proximity to White Plains
Raael.

SOUTHERN DISTRICT REPORTERS, P.C, (212) 805-0300

   

 

  

or were you with others?
Leers, Officer Michael Parchen and

      

Okt.

  

   

   

 

  
  

  
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G

bApWoOoH Deloren - direct
QO. And as your car was stopped at the intersection, what did
you observe?
A. Northbounc on Branx Boulevard, I observed a dark red Honda
lane, going to the right lane around a
stopped car in the int action, which was attempting to make a

fF turn. And then also go back inte the Left lane as it
finuec north on Bronx Boulevard, all the while without
gnalling. in addition, I'm serry, in addition, the windows

 

 

1 lefkh

 

travelling in tk

   

 
  
 

 

were tinted out.
O. fer you observed that, where did you qo next?
A. mn turned right and followed that car northbound an
Bronx Boulevard,
THE COURT: Let me tus
the significance of the fact that
THEE WERTNESS: i'm just indicating that that's al
Vehicle and Traff law infraction. if the windows are blacked
out, e's a vehicle and travel law, it says that only the
rear windows can be tinted out.
THE COURT: Oniy the rear window?
THE WITNESS: Yes, rear passenger and rear windshield,
3 driver's side, There

     

 

task you a question. What is
the windows were tinted out?
oO a

 

 

 

    

    
    

\

 

can be binted out. But net the

in amount of Light let in. You have to be

1 guess
has tc a cE
able Lo see inte the car through the front windows.

THR COURT: What license plate did the car have; what

 
   

 

state?
SOUTHERN PISTRECT REPORTERS, F.C. (212) 805-0300
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64 pWooal Deloren - direct
VHE WITNESS: New York.
THE COURT; Okay. You may proceed,
Mo. STRAUBER: Thank you, your Honor.
Q. What, if anything, did you do to signal te the car that you
were following?
A, fF put on our, the Jights and the siren in my car.
QO. And what happened next?
A. The driver pulled over to the righk.
QO. And after that, what did you do?
AL T pulled in behind him, T got cut, approached on the
ide. Officers Parchen and Lynch approached on the

 

   

 

dviverte
passenger's side.
QQ. QFficer, a8 you approached the car, were you armed?
A. Yes.
O. And where was your weapon?
AL In my holster.
QO. And how was it hoilstered?
A, -t was snapped shut.
Q. And as you approached the car, what did you do?
THE COURT: Letome ask you, where do you wear your

   

 

 

  

holster?
THE WITNESS: On my right side.
THE COURT: Se, ak your waist?
THE WETNESS: Yes.
THE COURT: Okay.
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G4 pWoooH Dehoren — direct
1 BY MS. S'PRAUBER;:
2 QO. As you approached the car, what did you do?
3 A, As [ was approaching the car, I told the driver to put down
4 the windows, When I got up te the car, 7 asked him for his
f license and registration.
6 9. And from wi ; 2 what could you see?
7 A. J could s the driver sitting in the passenger's seat,
8 and, he handed me his license, and he was looking for the
9 Lo Io then, with my flashlight, bent down and looked

  
  

SQN GEE.
2@ the person who was sittir
in the courtroom today?

in the

  

£3 AL Yes.
14 O. Tf you woulc, please identify him by where he's sitting and
is a piece of clothing that he's wearing.

 

 

seabed there to your left, wearing a white shirt.
se

Lo AR. Hels
li? MS. S'TRAUBER: Your Honor, may the record plee
a reflect that the witness has identified the defendant,
19 THE COURT: The record will sa reflect,

20 BY M&S. STRAUBER:

24 QO. What, if anything, dia you observe about the defendant?

22 A. d notheed that as TI was asking the driver for his license,
23 the defendant was repeatedly looking over his left shoulder and
24 his rieht shoulder to ‘2 where I was and where my partners

2% were, In addition, I noticed that the driver was breathing
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9

 

64 pWoooH beloren - direct
1 heavy. He was acting nervous. He was sweating. And he was
2 4iso seated in an awkward position in the front seat. He was

 

 
 

ning forward. Meanwhile, the seat back of the seat was in a
packward positien. tn lition, he had his seab belt on, but
5 he had his T-shirt or his shirt pulled out over the seat belt,
6 the lap portion of the belt, in what I thought was an attempt

.) j
k

 
 

 

 

7 to conceal something.
‘ lan you Me more specifically how the T-shirt was with
to the belt?

pulled out to his right side.

     

 
  

1a A, Tt

 
 
  

 

 

 

 

 

13 QO. Atter making these observations, what did you do?

£2 A. Well, because he was breathing the way he was breathing and
13 sweating, I bent down and T ¢ him if he was all right.

1a G. How did the defendant res

LS A. Looking straight ahead, shaking his heack back

16 and forth, saying no. And saw him mouth the word

1? Te.

ig O. What cid you do next?

1 AL t then looked up over the car ato my partner, and I gave him

a look, at which point my partner then asked the defendant to
step aut of the car.

QO. What happened next?

A. IT observed the defendant starting ta get out of the car,

ced him, De you have

 

    
 

 

and the door was open, and my partner as
25 anything on you, do you have any weapons.
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1a

64 pWoooh Neloeren ~ direct
I QO. And what did you hear next?
2 A. J. heard the defendant respond, I don't know what he fully
3 said, but he said something to the effect of having a gun or
a something like that.
5 Oo. When you heard that, what cid you do next?
6 A. Well, when T heard that, Officer Parchen was, told the

fendant to turn around, and he started to pat him down. And

a I observed.

9 O. What else, Lf anything, did you do?

16 4&. fF then asked the driver to step out of the car.

13 Q. And dust yping back a minute, when you said that you
served what Officer Parchen was doing, what actually did you

y

ham de?

 

 

 

 

     
 

 

 

 

around from the rear of

  
  

ved Officer Parchen r

 

     

      
  

 

 

iS the defendant. Ne was standing } nd the defendant. He

16 reached around on his right side, and [ observed him remove
i? something from an area near his right pants pocket or his

18 waistband area. And he then, T'm sorry. He then took that
Lo object and handed it ta Officer Lynch whe was standing behind
2g him.

21 QO. Bid there come a time that you saw what it was that Officer
ae Parchen had recovered from the defendant?

23 A. Yes,

24 QO. When was that?

25 A. About 30 seconds later, at the rear of the car, both the

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Li
64 pWeooH Deloren ~ direct
defendant and the driver were there, and Officer Lynch handed
m@ a Firearm,

MS. STRAUBER: Your Haner, may - approach.

4 THE COURT: You may.
5 BY MS. STRAUBER:
6 Q. Officer Deloren, I'm showing you what's been marked as
7 Government Exhibit 1 for purposes of identification. Could
take a dook at that.
‘ ey Deloren, de you recognize Government's Exhibit 1?
1¢ A. Yes, 1} da, actually.
1. 0. Ls it?
Le AY ; the firearm that was recovered from the defendant.
13 OG. And how do you recognize it?
La A, It has my initde seratched in it as well as the lead seal
153 that Eo placed around the trigqger quard.
G QO. Ancd what ¢ @, LE anything, do you recognize that's
7 ceantained within Exhibit 2?
8 A. Yeah. The magazine that was removed from the gun and the
9 two rounds of ammunition that were removed from it as well.
20 0. yr, when cid you carve your initials into the firearm?
2] on when we, when fT was processing the arrest back at

WN we

   

 

 

  
   

    

 

 

 

   

the station house,

MS. STRAUBER: Your Honor, I offer Government's
ZA Exhibit J] ain evidence.
au MR. BAUM: Na obje
SOUTHERN DY SYRECT RISGPORTIE

 

 

  

rhien For purposes of this hearing

3, PLC. (212) 805-6300

 
 
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64pWoooh Delaran - diract
only?

THE COURT; Government *s Exhibit 1 received in
evidence.

(Government ts Exhibit 1 received in evidence}
BY MS. S'TRAUBER:
Q. After you saw Officer Parchen recover the first item from
the defendant, what else, if anything, did you see Officer

 

Parchen do?

A. He curfed up the defendant, and then he continued to pat
Ss, ato which point he repeatedly
asked him, or asked him at least more than once if he had
anything @lse on him, at which point I heard the defendant

   

him down and search his pockets

    

respond that he had some werk on Aim.

QO. And afte the d dant so responded, what happened next?
AL] ! mm the left side of the defendant
remove a pla > bag from him.

Q. And did there come a time when
that bag that he recovered from the defendant?

A. Yes. At the same time I was handed the firearm from
Officer Lynch, Officer Parchen handed me a bag of crack
cocaine,

9. And you looked at the bag that Officer Parchen gave you?
A. Yes.

QO. And what did you observe?

A. fF observed a clumpy reck-like substance, which } believed

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Parghern Gave you

   

 

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64 pWoookl Deloaren - direct.
! to be crack cocaine.
2 MS. STRAUBER: Your Haner, may f approach.
3 THE COURIT: You may.
4 BY MS. S'PRAUBER:
° QO. Officer Deloren, T'm showing you what's been marked as

  
 

& Government's Exhibit 2 for purposes of identification, Please
7 take a look ab that.

a Officer, do you recegn
9 AL Yes.

10 QO. What is it?

1d A. This is the narcotics that were removed from the defendant

Gavernment's Exhibit 2?

 

J2 as well as the packaging that EP placed it in when T sent ib ta
i3 the Lab.
14 O. Are the narcotics in substantially the same condition that

   

LS Chey were in when they were given to you?
16 A, They're a Jittle different, actualiy. It seems to be a

3 Littie bit more crushed up here, When I, when they were

Le retrieved from the defendant, it was more clumpy, more rock
19 like.

20 QO. And how do you recognise
ak A. My signature and my shield number are there, acrass the

   

+ Government's Exhibit ??

   

>

2 envelope.
24 Q. fs there any other way in which you can identify
24 Gavernment's Exhibit 2?

25 A. Yes. Clearly displayed he
SOUPHERN PIS'TRICT REPORTERS, PLC. (212

 

   

is the number of the security

805-0300

 

 

 

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i4
S4pWoooh Deloren ~ direer
envelope that the narcetics were placed in, which is the same
as the murber that £ placed on the voucher.
QO. And how do you know that that number is the same number as
the one that you placed an the voucher?
A. Because I've seen the voucher.
MS. STRAUBBR: Your Honor, Ff offer Government's
Exhibit 2 in evidence.
MR. BAUM: No objection, for purposes of the hearing,
your Honer’?
THE COURT: Government's Exhibit 2 received in
evidence,
(Government's Exhibit 2 received in evidence}
BY MSL STRAUBER:
‘Leer Deloren, what, if anything, did you hear the
ay after the bag with the white substance was

  
 
  

 

om ham?
the defendant say that the drugs were his for

    

A. 7 heard
personal use.
QO. Now, did there come a time when you left the vicinity where
the car was stopped that. evening?
A. Yes
O. And where did you qo?
A. To the 47th Precinee.
Oo. Who was with you?
/ Officers Parchern and Officer Lynch.
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64ApWoooH DetLoren - direct

QO. Whe else was with you at that time?

A. Well, we called to the -- I'm sorry. The defendant was
also with me,

Oo. bad there come a time when you returned to the precinct?

A. Yes,

QO. And when you reached the precinet, what did you do?

A. Phe defendant was placed in a holding cell, and T began toa
proce the ary t.

QO. Did there come a time that you spoke to the defendant?

A. Yes,

O. Tell me what you did.

A, Prior to speaking Lo the defendant, 1 read him his Miranda
warnings, and which he siqned. He initialled after each
warning was read to him that he understoad it, and then he

: med jt. And then he proceeded bo discuss with me the events
of what happened that night.

QO. ‘ell me what you said ta him and what he said ta you.

A. Before he actually wrote down his statement, IT, f believe T
asked him wher he was going, where he was coming from, at
which point he said again, he reiterated that the drugs were
for his personal use and that the gun, he said that he had some
problems with seme peaple in his neighborhood in Mount Vernon,

 

   

     
   

 
   

 

and that che gun was for protection.

Oo. What else, if anything, did he say to you about the drugs?

A, He told me that he had purchased a specific amount of
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io

   

b4épWoool Deloren ~ direct
L narcetics, specific amount of crack. He gave me a number. t
2 doen't reeall what that number was at this time.
3 MS. STRAUBER: Your Honor, may T approach.

4 THE COURT: You may.
5 BY MS. STRAUBER:

 

 

6 QO. Officer Deloren, I'm showing you what's been marked as
7 Government's Exhibit 3 fer purposes of identification, Please
8 take a ab thatk.
9 Of ie Beloren, da you recagnize Government's Exhibit 3?
10 AY Yes.
qa O. What is it?
de A, This is a copy of the Miranda warnings and the statement
L3 that. the defendant wrote.
14 QO. And how de you recognize it?
15 A. Weil, from -- one, from my signature on the bettom, and fT
16 also remember if from that night.
L? MS. STRAUBER: Your Honor, I offer Government's
18 Exhibit 3 in evidence,
19 MR. BAUM: No objection.
20 THE COURT: Gavernment's Exhibit 3 received in
Zt evidence,
ee (Government's Exhibit 3 recelved in evidence)
23 MS, STRAUBER: TF have nothing further -- actually,
24 excuse me, T-'d like to tust step hack to one thing.

ay

     
 

mo you testified previously that after you
ME PORTE p.c, {2l2) 868-0300

ala, whe
LSTRICT

20 O. When you
SOUTHERN

 

     
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Li?
o4pWcooH Neloren - direct
L spoke to the defendant and asked him if he was all right, I
2 believe you testified that he was shaking his head back and
3 forth.
4 MR. BAUM: Objection as to form as to what he
S testified to.

G THE COURT: Yes. Right. Let's get to the question.

7 BY MS. STRAUBIER:

 
 

a QO. When you spoke to -- withdrawn.

a Did there come a time when you, after you approached the
Lo car, when you spoke to the passenger?

da A. Yes.

ie QO. And what. did you ask him?

13 A. Again, I asked him 1f he was all right.

14 Q. And how did he respond?

is A, He shook his head no ancl mouthed the word no,

 

LG MS. STRAUBER: Thank you. Nothing further.
7 CROSS-EXAMINAT LON

1d BY MR. BAUM:

 

19 Q. Officer Deloren, when you first began your testimony, you
20 said that you had been involved in upwards of 200 arrests, or
2i you had made upwards of 200 arrests, is that correct?

  
 

22 A. ‘Yes Approximately,
23 OQ. Weil, what you're saying, actually, is that you were

 

24 involved in upwards of 200 arrests, not that you personally
25 made the arrests, carrech?

 

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Lg

 

Od pltcooal Delaren - crass
A. No. That's incorrect. I personally made the arrests of
somewhere between [ would say 180 and 200 arrests, and I've
been involved in three, maybe four ar five times that.

Qg. In this particular case, you didn't search Mr. Cooper, did

you?
A, We,
Oo. You didn't recever the weapon, did you?

AL No, F did moat.

QO. You didn't recever narcotics, did yau?

A. Correct.

oO. But you are the arresting officer, correct?

A. Correct.

QO. Now, you testified that this area was a high-crime area.

Do you recall that?

A. Yes.

QO. Would it be fair to say that a substantial portion of the

: “ime area?

A. You knew what? Honestly, IT don't know how to qualify that,
so substantial portion of the Bronx. A lot of the Bronx, yes,
iS a high-crime area. That specific area where J was, #33rd
Street near White P ne Road is even more of a high-crime area
than the average street in the Bronx.

QO. ‘There are other areas in the Bronx which you would
characterize as even more of a high-crime area than the area

  

 
  

you just described, correct?
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o4piWoooH Deloren - cross

A. Nok necessari Ly, mo.

QO. So is it your testimony that this is the highest crime area
in the Bronx?

A, Wo, That's not my testimony at all,

QO. Okay. So would it be fair to say that there are ather
areas that are more of a high-crime area than this area?

AL YT honestly wouldn't know. Honestly.
O. Now, you tes jed that one of the re
Cary Was, aS you said, the windows were tinted out; they we
blackened, is that corre :

AY Yes,

QO. And, in fact, you said that the reason that you give a
ticket fer a traffie that you have to be able to

 

ons you stopped the

 

  

=

  

%

   
    

see inside the ca ah
AL Typically, that’s the standard that we use on the street,
yes,
O. Okay. And isn't it therefore accurate that. you gave a
ticket in this situation because you could not see inside the
car through the driver’s or the passenger's side windows when
the windows were up?
A, Yes. In addition to the summons for failing to signal when
they went around the car.
QO. Okay. T just asked cone question.
is it fair to say then when the windows are up on this
vehicle that you stopped, you cannot see through the windows
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20

 

 

    

  

  

64 pWoooH Deloren - cross

1 into the interior of the car?

2 AL As far as T remember, yes.

3 O. Now, you mentioned that when you approached the car, you

of had 4 weapon and it was in a helster. Da you recall’?

3 A. Yes.

6 OG. And were you wearing a jacket or no jacket?

? A. J dontt recall my, what IT was wearing. 2 don't think I was
5 wearing a jacket.

9 Oo. Ancd was the weapon and the holster clearly visible to
1a anyone who would observe your person that night?
Li AL Yes, probably.
Lea QO. And when you appreached the car, did you have your hand on
13 your weapon, as standard procedure?
14 A. That's net standard procedure, However, I don't remember.
1S QO. Now, you testified that you approached on the driver's
16 side, is that correct?

L? A. Yes,
18 QO. And you asked the driver's side to roll down his window
Jo because you couldn't see in the car, correct?
20 A. Yes.

O. And do you recali how far he rolled down the window?
A. ALL the way.

 

23 Q. And after he rolled down the windaw, I believe you
24 testified that you had to use a flashlight to look inside the

 

 

eo car on the passenger's side, is that accurate?

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Me

G4 pWaooh Delorean - Grass
1 MS. STRAUBER: Objection.
2 THE COURT: Yes. Sustained as to form.
3 BY MR. BAUM:
4 QO. Did you use a flashlight to view the passenger's side of
5 the car?
6 A, Yes.
7 QO. And the time that you made all the ohservations that you

fa testified ta, was the flashlight on for that entire periad of
q

 

QO. Or dict you turn the Flashlight on and shut it of f for some
perlods of time?

A. it was on the whole
o. Now, wher
conmversatiean
A. Yes.

9. That was the first thing you did, correct?

AL Yes.

GO. And at that point, were youn standing directly beside the
driver at the passenger's door, at the driver's side door?

A, Wo, ff was slightiy behind his left shoulder.

; Q. And when you say slightiy behind his left shoulder, how far
a3 from the front passenger door would you say you were, a foot,

24 less than a foot, more than a foot?

2 A, i believe I was standing right at the seam of the front
SQUTHERN DISTRICT REPORTERS, P.C. {212) 805-0300

time.
ached the car, dicdl you begin a

driver?

     
  
 

 

  

   

   
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2a
S4pWeoal Deloren ~ Gross
1 doar.
2 QO. And in order to speak with you, would it be fair toa say
: that the driver had to look over his shoulder?
4 A. Or just turn to his left.
5 O. Okay. And did you notice whether the officers approached
6 from the other side of the car?

 
 

7 A. Did T not:
8 QO. Other offic
9 the *

10 AL

what? Tim sorry.
ars approaching from the other side of the car,

   

side?

 

El QO. And did you notice where they stood while you talked to the
12 driver?

  

A. Officer Lynch was more towards the rear of the car. And
Officer Parchen was standing next to the passenger door.
QO. Now, you testified that you had a look in the car with your
flashlight, correct?

MS. STRAUBER: Objection.

THE COURT: Sustained as to form.

MR, BAUM: Okay.

 

   

OQ. When you made the observations that you testified to on
direct exam, had you moved closer to the driver's position in

 

te the Car, or were you standing at the location that you #ust
2a deseribed of f a Little to the side of the front door?

24 A. f had to move up because I had to retrieve the driver's
25 License.

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233
64 pWeooH Neloren - crass
Oo. And how much time did you actually spend at the location a
little to the side of the front door before you moved up?
A. Five secands, just enough to see where the driver's hands

 

WEeIe.
Oo. And what was the conversation you had with the driver?
A. To don't recall exactly what we talked about. I think f
just asked him fer his license and registration,

GO. Ghe you ask him any other questions?

A. 7 don't remember.

Oo. You don't remember?

A. Noa, FE dont.

QO. While you were asking him questions, were you looking at

   

 

him or the passenger?

AL Both.

O. So you were asking the driver questions. Ab that point,
aren't you concerned that you need to keep your eyes on the
driver for purposes of your own safety?

A. The driver's hands are completely visible at this point.
QO. ze his hands?

A. Yn front of Him. I dentr know if they were exactly on the
steering wheel or on his lap, but they were in front of him,
QO. You had to be loaking at him to know that they were

 

 

 

completely ble, correct?

A. Yes, but don't have to stare at them.

oO. And there came some period of time when you testified that
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24

    
   
 

64 pWeaok De Les Yom ress
‘|. you asked a question of the passenger, is that right?
a A. Phat'’s correct.
3 QO. How long after you steed at the side of the car dear by the
4 driver did you ask this question of the passenger?
5 A. 20 seconds, perhaps. 30 seconds. 7 can't be certain, but
6 Li wasn't Long.

QO. And what was the question that you say you asked him?

   

  
 

a A. Based on his demeanor, IT asked him if he was ail right. I
9 asked him if he was okay.

10 QO. Well, what. was his demeanor?

11 A. ‘Yo me, he was behaving very nervously. He was breathing
12 extremely heavy. His chest was visibly moving up and down. I
14 could see beads of sweat on his forehead and the way he was

i4 seated in the car to me was alsa very odd.

Ls QO. Well, how was 4 in the car?

 
 
 

in a forward position, much Like I'm
spite the fact that the back portion of the
if te say that previously he was leaning

16 A. Again, he was
seated right now,

   

at was set back

19 backwards in the car,
20 oO. Sep os
21 A. In adeatiion --

aa O. Go ahead.
23 A. In addition, he had his seat belt on. But what T theught

24 was very add was that his shirt was pulled out over the seat
25 belt oon his right side,

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25
o4pWoaol Delorean - cross

1 QO. Now, you didn't see him pull his shirt out over his seat
2 belt, did you?
3 A. Ne, I did not.
4 QO, So is it your testimony that you found it odd that someone
si is seated in the front, in the passenger's seat with his seat
G belt on and his shirt is outside over the seat belt? You find
7 that oda?
a A. Coupled with the fact that he was acting extremely nervous,
S yes, T find that very odd.
10 QO. No, Officer. Did you just testify that you Found it odd
il that His shirt was out over t seat helt?

 

Le MS. STRAUBER: Objection.
13 THE COURT: IT'LL allow at.
14 BY MR. BAUM:

BS QO. Tsn't that what you just said?

Loe A. Yes.

17 GO. Do you Find it odd that someone seated in a car and that
18 they don't have their shirt tucked under the seat belt, they
19 have it tucked over the seat belt, da you think that's add?
20 A. J think that is a little odd, yes.

21. O. And ts that one af the reasons that you decided that

22 perhaps he should be searched?

23 A, That was one of many reasons, yes.

24 QO. Now, you said he was breathing heavy. Did you think he was
25 LLL?

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26
S4pWocool Deloren - cross
1 A, Wo. TT thought he was nervous.
a QO. Pid he say anything to you? Bid he speak to you?
: A. Esecepkt to say that he wasn’t okay, no, he didn't say
4 anything.
5 OQ. Did he say he was okay?
6 A. He shock his head no and mouthed the word no.
7 G. Now, as the arresting officer, you filled cut a bunch of
& forme pursuant to this arrest, is that correct?

9 A. Yes.

40 QO. And on ene of the forms that you filled out, did you fill
LL out -- well, withdrawn.

12 Did you fill out a prisoner pedigree card?

13 A. Yes.

14 O. And on the prisoner pedigree card, did you ever indicate

cad condition of Mr. Cooper?

  

oy
i

1S the phys
16 A, Yes,

 

i7 Qg. And do you recall what you indicated on the prisoner

8 pedigree part as to the physical condition of Mr, Cooper?

1a AL Ff IT remember correctly, 2} put down that he was apparentiy
20 noxmal.

2) O. Now, after you made these observalions, was it at that.

22 point that -- well, withdrawn.

2 bid you ever order Mr, Cooper or Mr., or the driver out of
2d the car’?

25 A. - asked the driver to step out, yes.

  

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al
64pWoook Deloren - ore
1 QO. And was that before or after Mr. Cooper was asked out of
2 the car?
3 A. That was after.
4 O. And did you order Mr. Cooper out ef the car?
5 A. No, J did not.
6 O. Did you hear your partner order Mr. Cooper out of the car?
vi A. Yes.
8 QO. And do you know when your partner ordered Mr, Cooper out of
9 the car, was he, did he have a weapon withdrawn? Was he

a
oo

imo
©

holding a we
My partner?

Yes.

A. Ne.

And when your partner ordered Mr. Cooper out of the car,

 
  

pes
ns

 

we
Lx Fs

 

 

7) did he open up the car deor for Mr. Cooper toa get out of the
16 car?

Li? A. That, I dan't know.

18 QO. Well, weren't you looking in the car that whole period of
19 time?

20 A. Wo. At that point, I'm not leaking in the car anymore.

21 Now I'm standing upright.

22 QO. So, is it your testimony that after Mr. Cooper was ordered
23 out of the car, you no longer looked in the car?

24 A. Wot in the manner that I was, bent over, fE'm still looking
25 in the car, but I'm no longer bent down. Now I'm standing

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64 pWoeoaoH Deloren - cross
1 upright.
2 @. And did you see Mr. Cooper get out of the car?
3 A. Yes,
4 QO. And after Mr. Cooper got out of the car, didn't one of the
5 officers on the other side begin to pat him down?
6 A. I'm sorry. I'm not quite following you, Can you repeat

Lian?
After Mr. Cooper was ordered out of the car, after

7 the
3 O. Yes.

   

  

 
  

    

  

 

  

2 you made your observations, didn't your partner ar one of the
LO two police officers on the passenger's side begin te pat hin
11. down ?
Le A. Yes, after he was asked if he had anything on him.
13 QO. Are you sure, Officer, that he was asked before he was
ia patted down, was he asked during the pat down?
1S A. He was asked before the pat down. He was still halfway
16 seated in the car, getting out of the car, when Officer Parchen
i asked him, Bo you have anything on you, do you have any
138 Weapons.
19 QO. Now, you've spoken to the presecutor about this case
20) before, haven't you?
21 ALY .
ae O. And, in fack, on one Gr more occasions, you spoke to her by
23 celi phone, didn't you?
24 A. Yes.
25 QO. And do you specifically recall having a conversation with

 

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64 pWaooH Deloren ~ cross
her on September 127
A, Noe, I don't remember it specifically.
0. Okay. But you recall having a conversation with her about
4 the Lac é on her cell phone, correct, on your cel).

il RoR

rs of this cas

   

  

 

9 phone, excuse me?

G A, Yes,

7 Oo. And on one of these occasions, did you tell her that

4 Parchen patted him down and says, bo you have a weapon?

g AL I donth --

10 G. Do you recail telling her that?

Vi A. bt don’t recall that.

12 QO. What did you hear Officer Parchen say to Mr. Cooper?

13 A. At which point?

14 O. At the point he was told, that Mr. Cooper was told to leave
LS the vehicle,

16 A, He asked the defendant to step out of the car, and, as he
i? was Getting out, Officer Parchen asked him if he had any

18 weapons on him, if he had anything on him,

19 Q. Okay. Now, in your seven years on the police force, you
29 received training in street stops and search and seizures,
21 correct?
22 A. Yes.
23 O. And you received training in the academy about. street stops
24 and search and seizures, didn't you?

as A. Yes.

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G4pWceoll Deloren - crass
1 QO. And as part of the anticrime unit, I assume that you
2 eived follow-up training about stops, street stops and
3 search and selaures, correct?
4 A. Ne, that's not correct.
5 QO. So the only time you've ever received training was at the
& academy on search and seLzures?
7 A. No. Youtre also learning from veteran officers and
8 supervisors as street encounters occur,
9 O. Do you receive memos from the Legal department about. stops
LG and how to participate in a street stop?
LL A. Yes,
12 QO. Now, Officer, it's fair to say that you know as part of
L3 your training, that in order to pat someone down, you have to
14 have some suspicion of criminal activity, correct? You know
Lb that, deontt you?

16 MS. STRAUBER: Objection.
17 THE COURT: Sustained.
18 MR. BAUM: Judge, IT think it's proper cross.
19 THE COURT: Maybe I don't.
20 MR. BAUM: I'r sorry?
Zi. THE COURT: Maybe I don't.
ae MR. BAUM: Obviously you don't, Judge.
23 Q. Do you knew what the procedure is for a pat down from your
training?
A. Yes.
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34
o4pWeoaH Bbeloren - cross

L QO. And do you know whether or not prior to a pat down you need
a to have some suspicion of criminal activity?

3 MS, STRAUBER: Objection, your Honor,

4 THe COURT: T'll allow that.

& A. Reapeat the question. I'm sorry.

& O. Do you know that prior to a pat down on the street, you

? need to have some suspicion of criminal activity?

8 MS. STRAUBER: Objection.

9 THE COURT: Basis?

10 MS. STRAUBER: I think it misstates the Law, your

bi Hanor,

le THE COURT: That would be a problem.

i3 BY MR. BAUM:

14 O, What is it that you believe needs to oceur prior to a pat
1S down to be consistent with constitutional --

iG THE COURT: Whoa, whoa.

7? MS. STRAUBBR: Objection, your Honor.

18 MR. BAUM: It's the officer's state of mind.

LS THE COURT; Walt a second. Wait a second. How about,
20 What is it you believe neéds to occur prior to a pat down,

Zh period.
22 MR, BAUM: Okay.
23 THe WITNESS: Es that the question?
24 THis COURT: That's the question.
25 THE WITNESS: The answer, I guess, then is F believe

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32

64 pWecoaoh Deloren ~ crass
that there needs to be reasonable grounds that a crime is about
ta be committed or was committed.
BY MR. BAUM:
O. And is it fair te say that without that, you know that
you're not permitted to search someone?

MS. STRAUBER: Objection.

THE COURT: T'll sustain it as to form.
QO. [Tf that doesn't occur ¢£ to a pat down, are you
permitted ta search someone?

MS. STRAUBER: Objection.

THE COURT: Sustained.
BY MR. BAUM:
O. Did you ever ask the driver if he'd ever been arrested
oo

 

 

before, at the ce
A&A. IT doen't remember.
oO. De you recall whether the driver told you that he had heen
arrested befere, while you were at the car?

A. fm sorry. Again, I don't remember.

O. Bid you search the driver?

A. Yes, J did. YT patted him down.

QO. And would you tell the judge what basis you had to search

 

the driver?

A. Because a firearm was just recovered from the person who

was sitting right next te him in the car.

QO. And you testified that Mr. Cooper made some statements
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33

G4 pWcooH Deloren - cross
1 later on, correct?
a MS. STRAUBER: Objection.
3 TH COURT: As to form, yes.
4 BY MR. BAUM:
S QO. Government's Exhibit, T believe it's Government's Exhibit 3
& is a written statement made by Mr. Cooper, is that correct?
4 A. That is correct.
8 oO. Did you tell him what to say in that statement?
9 A. Absolutely not.
10 QO. Did you read that statement when he wrate it?
tl A. After he wrote it?

12 OQ. Yeah.
13 A. Yes.

 

14 QO. Did you teli him that the statement was incorrect or that
15 he should change it in any way?

16 A, Not at all.

LY QO. And you signed that statement, didn't you?

18 A. Yes.

Lo QO. Bid you discuss your testimony or the events of this case
20 with Officer Parchen at any time prior to today?

21 AL Neo.

22 QO. Bid you meet with someone from the government to discuss
234 your testimony, meet personally?

24 A. With the assistant U.S. Attorney, yes.

en OG. And when you met with the assistant U.S. Attorney was

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34
64pWoookl Deloren - cross

1 Officer Parchen present?

2 A. Not during the interview, no.

3 QO. Bid you do to the meeting with Officer Parchen?

4 A. Yes.

5 QO. Did you leave with Officer Parchen?

6 A. Yes, I did.

7 GO. And en the way dewn, did you talk about the case at ail?

4 AL Na. We were expressly told not to.

9 GQ. Were you told that after the meeting or before the meeting?
LG A. Bath.

Li MR. BAUM: We further questions.

12 THE COURT: ALL right.

L3 MS, S'TRAUBER: The government has no questions, your
14 Honer,

15 THE COURT: Dont mave. Ta you have other witnesses?
16 MS. STRAUBER: Yes, your Honer. The government has
Le ane additional witness.

18 THE COURT: Who is that?

19 MS. STRAUBER: That's Officer Parchen,
20 THE COURT: Okay. Thank you, you may step down.

21 {Witness excused}

22 MS. STRAUBER: Your Honor, may the government call
23 Officer Parchen.

24 THE COURT: Yes.
25 MS, STRAUBBR: Thank you, your Honor.

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64pWoool Deloren - cross
| MICHAEL PARCHEN,
2 called as a witness by the Government,
3 having been duly sworn, teatified as follows:
4 DIRECT EAAMTNATION
5 BY MS. STRAUBER:
6 Q. Officer Parchen, who do you work for?
7 A. New York City Police Department.

   

a QO. What's your title?
Sg A. Police officer.
Lo 9. How long have you been a police officer with the New York

11 City Police Department?

12 A. Approximately seven years,

13 Q. Where are you currently assigned?

id A. Bronx Anticrime Unit.

Lo OG. How long have you been assigned there?

LG A. A Little over a year.

Vi QO. And prior to being assigned to the Bronx Anticrime Unit,

 

is where were you assigned?
19 A. The 40th Preeinet.
20 QO. What were your responsibitities, Just briefly, when you

 

 

21. were assigned to the 40th Precinct?

22 A. was assigned to the anticrime unit.

23 O. And what are your current responsibilities in the Bronx
24 Antierime Unit?

25 A. We're a plain clothes unit. We try to cateh criminals

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64 pWoeooH Parchen ~ direct
1 before they're about to conmit crimes and while they're
2 committing crimes.
3 QO. In the course of your work as a police officer,
4 approximately how many arrests have you made?
& A. Approximately £00.
& QO. And approximately how many of those arrests were for
3 offenses relating to drugs?
& A, Between 50 and a hundred.
a QO. And how many of those arrests approximately were for
LG offenses relating to firearms?
1d A. Approximately 30.
12 O. Directing your attention te the night of September 6, 2005,
13 Officer, were you working that evening?
14 A. Yes,
5 G. And what time did your tour of duty start?
16 A. #2130, which is 9:30 at night.
1? oO. And what were you doing?
18 A. Bronx anticrime.
19 QO. Can you describe more specifically what you were doing on
20 duty that evening?
21 A. We were in an unmarked police car patrolling the confines
2é of the 47? Precinct.
23 0. And when you say "we," who were you with?
24 A. t was with Officer Deloren and Officer Lynch.
25 9. And where were you sifting in the car?

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64 pwWoool Parchen ~ direct.
i A. Front right passenger.
2 QO. And approximately where within the precinct was your car
3 located?
4 AL We were stopped at a traffic light facing westbound on East

 

 

 

 

 

 

5 2gard Street. and Bronx Boulevard.
G Q. And at approximately what time were you at that location?
7 A. About 21:00,
8 OQ. Are you familiar with that area?
9 A. Yes.
TO QO. How are you familiar with it?
Tl A. T've patrolled there numerous times.
1? QO. Can you describe that area for the Court, please?
13 A, Tt's a high-crime area. Get a lot of robberies aver there.
4 @. And Tomay have asked you this question already, forgive me
£5 if IT have. What seat of the car were you sitting in?
Lé AL Front right passe
1? QO. And as you were stopped at the intersection, what, if
18 anything, did you observe?
19 A. I witnessed a burgundy colored Honda Accord travelling
20 northbound on Bronx Boulevard, ft made an erratic turn. It
2 changed lanes without signalling, and it was speeding.
22 QO, What else, if anything, did you notice about the car?
23 A. Had tinted windows.
24 Q. After you observed that, where did your car go next?
25 A. We pulled in immediately behind the vehicie and we

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é4doWoooH Parchen - direct
1. conducted a car stop.
2 QO. And what, if anything, did you do to signal to that vehicle

3 that you were behind it?
4 A. Somebody in the vehicle, 7T don't know if it was me or
4 OF PL Loren, did initiate the Lights in the car to conduct

  

& the car stop.
‘I QO. And after you pulled that car over, where did you go?
8 A, I approached the front right passenger, in the front seat
9 af the vehicle.
10 O. And at that time, did you have your weapon drawn?
11 A. No, I did not.
12 QO. Was your weapon visible?
13 A, Yes,
14 QO. And was it, where was it located?
15 A. On my hip, on my right side.
16 QO. And was it holstered?
1? A. Holstered, yes.
18 QO. As you approached the car, where were you standing in
19 relation, or when you -~ withdrawn,
29 When you reached the car, where were you standing in
24 relation to the front passenger side window?
22 A. dust right off to the spot where E could see into the
23 vehicle, and it's basically where the door and the window meet
24 and the front right door.
20 O. And at that time, were the windows of the vehicle closed?

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64 pWeaoH Parchen ~ direct

L In the front passenger's seat, was the window closed, or was it
2 open?

3 A. TI believe the window was down already by the time I

4 approached the car.

5 9, And when you reached the passenger's side, what did you do?
6 A. T asked the front right passenger what his name was, where
7 he was coming from. He answered me that they were coming from
8 Manhattan, 7 asked them where they were headed, where he

9 Jives, and whose car itt was. And at that point, he stopped

LO answering my questions.

Li QO. As you asked these questions, what, if anything, did you

Le observe about the passenger?

13 A. He had a blank stare on his face. He was staring straight:
14 ahead, and he was breathing heavily.

BS Q. What else, if anything, did you notice about the passenger?
16 A. He had on a longer T-shirt, and he had the T-shirt pulled
1? out over beneath the bottom part of the belt, the seat belt,

Le the lap portion. It was covered, covering his right, Ais right
ig leg area.
20 QO. As you stood there, what, if anything, did you hear Officer
Ai Deloren say to the passenger?

ae A, I heard Officer Deloren ask the passenger if he was okay,
23 and ~=+
24 ®. And hew did the passenger respond?
29 A. 7- didn’t hear the passenger say anything, but = saw him

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40

64 pWoeooH Parchen ~ direct
1 shaking his head side to side like he was gesturing no.
Z O. And what did you do next?
3 A. YT then looked at Officer Deloren and he gave me a look that
4 something was wrong, wrong with the passenger in the right
2 front. And -~
6 MR. BAUM: Objection. Move that that be stricken.
7 THE COURT: Well, it won't be stricken. But that's
A what you took his Look to be?

3 THE WITNESS: Yes.
LO BY MS. STRAUBER:

11. Oo. What did you do next, Officer’?

12 A. - asked the front right passenger to exit the vehicle.

13 QO. And what else, if anything, did you say to the passenger at
14 that time?

Lo A. As he was exiting the vehicle, he said to me, he said,

16 Officer, he said something like "TI have a gun on me," something
17 to that effect.

18 oO. And what, if anything, had you said to him before he got

19 out of the car?

20 A. 7 asked him to exit the vehicle.

21. O. When you heard him, when you heard him respond to you, what.
22 did you do?

23 A. At first, -, as he was exiting the vehicle, I stayed as

 

24 clase to him as possible. I then told him to relax. 7
29 physically turned him around and placed him up against the
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4}
64 pWeooH Parchen - direct
vehicle, and then 7 asked him where he had his firearm or gun,
He was --
QO. And how did he respond?
A, He responded that he had it in his front right pocket.
9. After you heard that, what did you do?
A, ¥ reached dewn towards his front right pocket. I patted
down the pocket area, felt something hard, I reached in, and I
removed a .25 caliber firearm.
QO. And after you removed it, what did you do with it?
A, I immediately handed it to Officer Lynch, who was standing
ta omy left and then 7 proceeded to put handcuffs on the
defendant.
MS. STRAUBER: Your Honor, may 7 approach.
THE COURT: You may.

BY MS. STRAUBBER:
QO. Officer, T'm showing you what's marked as Government's
Exhibit BE in evidence. Please take a look at that.

Officer, do you recognize Government's Exhibit
A, Yes,
om What is it?
A. That is the gun I pulled from the defendant's front right

1?

pocket.
QO. And how do you recognize it?
A. I remember it, the size of it, the color. It had tape on
the handle. And it has my partner's initials in it.
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42

   

o4pWaooh Parchen ~ direct

l QO. After you recovered that, what did you do next?

2 A. After I recovered that, I handed it to Officer Lynch. I

3 placed the handcuffs on the defendant. And I started to walk

4 him to the rear of the vehicle, getting him away from where he
4 could veach inside the car. fT didn't know what else was in

6 there, ¢ then asked him if he had anything else illegal on

? him, any other weapons, drugs. He stated, "I have work on me,"
3 QO. What dia yeu understand that to mean?

9 A. Some type of narcotics.
16 QO. What did you do after you heard that?
A A. I asked him where it was, and he said it was in his front
12 left pocket.
43 QO. What did you do next?
14 A. 2 reached down, I patted down the outside of his front left
BS pocket. ~T reached in, and Tf removed approximately a quarter to
16 a half ounce of crack cacaine.
L7 QO. What, Lf anything, did the person, what, if anything, did
18 he say to you after you removed ib?

A. He kept on stating to me that he was nervous. J toid him
he did the right thing by not reaching for his gun. He said

that the drugs he had on him were for personal use.

O. After you recovered the drugs, what did you do with them?
A. TI gave them to Officer Deloren.

   

   

  

2d O. And, Officer Parchen, just stepping back to when you
25 observed the passenger in the car, what, if anything, did you

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64dpWoooH Parchen - direct
] observe that indicated to you that he was breathing heavily?

2 MR. BAUM: Objection to form.
3 THE COURT: Yes. Sustained.
4 BY MS. S'RAUBER:

 

  

  

5 Q. Can you describe when you observed the defendant, when you
6 observed the passenger in the car, how he appeared to you?

7 AL He appeared nervous to me,

8 MS. SPRAUBER: I have nothing further, your Honor.

q THE COURT: How did he appear nervous? Why did he

10 appear nervous?

Lid THE WITNESS: His breathing was unusual for somebody
12 who was sitting in a passenger's seat ef a vehicle. His

13 breaths were more erratic. His chest was heaving up and down.
14 VYhat’s about it,

1a THE COURT: ALL right. Mr, Baum,
L6 MR. BAUM: Thank you, ma'am,

L? CROSS~EXAMINATION

18 BY MR. BAUM:

13 O. Offi Parchen, you testified thar you conducted a number

  
 

20 of arre Bo you recall that?

21 A. Yes.

22 QO, Would you censider your activity in thts case one of those
23 numbers of arrests?

24 A, Wo.

25 QO. Anch you recevered the drugs, correct?

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44
64 pWaaalt Parchen - cross
Yes.
You recevered the weapon, correct?
Yes.
You searched Mr, Cooper, correct?
Yes.
Were you the arresting officer?
No.
What is the criteria for someone to be an arresting

a
O Pood Pod Po bP

9 offieer?
10 THE COURT: No. Foerget it. Move on.
Li. MR. BAUM: Okay. It Just, the government. offered

Le this, I assume, on the issue of credibility, and that's why I'm
13 inquiring. Ef your Honor wants me to move on, I'd be happy to,
14 THE COURT: Move on.

des MR. BAUM: Okay.

16 QO. You said that the car was speeding. Do you recall saying
1? that?

18 AL Yes.

19 Q. Was the driver issued a ticket for speeding?

20 A. I do net know. Tt know he was issued a gummons or two, but
el T den't knew what they exactiy are for.

ae O. You didn't issue a ticket for speeding, did you?

23 A. No, IT did not.

24 Q. When you approached the car, you approached from the

25 passenger's side?

   

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64pWoeook Parchen - cross

] A. Yes.

3 QO. And Officer Deloren approached from the driver's side,

3 correct?

4 A. Yes.

3 OG. thea spoke first to an occupant of the car, you or Officer
6 Deloren?

7 A. Ff can't reeali.

a QO. Bid you hear Officer Deloren say anything to the driver?
9 I did hear him in conversation. J heard him asking for his
LO nse, driver's license. At that point, IT was attempting to
li engage a conversation with the front right passenger. So I
12 don’t really know what he said.
i3 QO. And that front right passenger was Mr. Cooper?
14 A, Yes.
15 QO. And when you say you were attempting to engage in a
16 conversation, could you tell me what you were asking him?
17? A. I asked him where they were coming from. He answered me
18 they're coming from Manhattan. I asked him where they were
19 heading. TI asked him whose vehicle it was. 1 asked him what
20 his name was.
21 O. And did he answer those questions?

22 A. No.
23 QO. The only --

24 4. ust the first one.
2b QO. Just the first one. And when you asked that question,

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46
64pWcooH Parchen - crass
1 where were you standing?
2 A. Right where the deor and the window meet, on the front
3 right passenger door.
4 OQ. And, again, do you know whether you spoke to him before
5 Officer Parchen said anything, after Gfficer Parchen, or at the

6 same time?
7 MS. STRAUBER: Objection.

 

  
     

3 THE COURT: As to form. Sustained.

g BY MR. BAUM:
10 QO. When you spoke to him, had you heard Officer Parchen ask
1 anybody in the car anything?
12 A. Tam Officer Parchen.
13 OQ. Excuse me. =f apologize,
14 Had you heard Officer Deloren ask anyone in the car
LS anything?
1G A. 7 heard it in the conversation, I believe he asked for the
1? sassenger's license. And that's all I really heard him say.
18 @. Okay. And you knew that the car has blackened windows,
19 correct?
209 A. They were tinted.
21 QO. And is it fair te say that you cannot see in the car with
22 the windows rolled up?
23 A, At that time of night, it's Pair to say.
24 OQ. And do you know whether the window on the passenger's side
25 was rolled up or down?

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47

G4pWoool Parchen - cross
1 A, When I approached the vehicle?
2 9. Yes,
3 A. I recall it being down. He could have been relling it down
4 as lo was approaching, but by the time I got up toe the vehicle,
i { remember the window being, being down.
6 O. And did you ask him to rotl the window down?
7 A. No, £ cid not.
3 QO. When you approached the vebicle, did you have your hand on
9 your holster?
BO AY No, IT did not.
Li O. Where was the other officer when you were having this
Le conversation with Mr. Cooper?
13 A. [| was with two other officers. Which one are you talking
14 about?
1S QO. The one on your side.
16 A. Officer Lynch was standing appromuimately three to five feet
Li? behind me.
18 QO. Is it Fair to say your weapon was clearly visible at the
19 time?
2Q A, It was visible to me, probably not toa Mr, Cooper.
21 QO. Why is that?
2a A, Because it's on my right side, and I'm standing looking to
23 my left.
24 Q. And after you had this conversation that you described with
es Mr. Cooper, did there come a time when you ordered him out of

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48
GdpWoeooll Parchen - cross
1 the car?
2 A. Yes,
3 QO. And when you ordered him out of the car, had he said
4 anything other than what you've already described to the Court?

 

5 A. 1 remember him stating that he was nervous. I believe it
5 was, 1t was after =f asked him to exit the vehicle. He kept on
q saying he was scared, when I was removing the firearm and when

   

  

& Twas placing cuffs on him.
9 QO. Okay. Let's back up a Little bit. You've testified that

0 you engaged him in some small talk, where are you coming from,

  

 

1

Ld what are you doing, things like that, correct?

12 A. Correck.

3 Q. And you testified that during the period of time you were
14 engaging him in this conversation, he was seated in the car,
15 correct?

16 A, Correct.

a OQ. And he responded to one of your questions, correct?

18 A. He responded to the first question I asked him, yes.

16 O. Did there come a time when you asked him to step out of the
209 car?

ai A. When he was exiting, before he exited the vehicle, I asked
22 him to exit the vehicle.

23 Q. So pricr to you asking him to exit the vehicle, the only
24 conversation you had had with him was what you have just.

25 described, correct?

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49

64 pWoooH Parchen - cross
A, Correct.
QO. And then you asked him to get out of the car, right?
AL Yes.
QO. And did you open the car door for him?
A, No, He was opening the door himself.
@. And when you asked him to get out of the car, were you
standing right there at. the door where he gets out?
A. Yes.
QO. And was Officer Lynch alse standing right there at the door
where he gets out?
A. I wasn't looking behind me, I'm assuming Officer Lynch was
standing a few feet behind me.
O. And as soon as he got out, did you begin to pat him down?
A. Yes.
Oo. And after you patted him down, did you ask him if he had
anything on him?
A. 2 quite possibly could have. I dontt recall.
QO. Is it fair to say that it was during the pat down that
there was a conversation about a gun?
A. During the pat down?
O. Yes.
A. Yes, there was,
QO. Now, you testified that his shirt was out over the lap belt
of the seat belt, correct?
A, Correct.

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SOQ
64pWeooH Parchen - cross

1 QO. And you didn't see him pull his shirt out and pull it over
2 the Lap belt, did you?

3 A. No, EF did not.

4 QO. =n other words, when you goat there, his shirt was already
5 out over the lap belt?

6 A. Yes.

t QO. Were you present when Mr. Cooper wrote out a written

a statement?

9 A. Wo, I was not.

10 MR. BAUM: JT have no further questions, Judge.

1 MS. STRAUBER: Your Honer, if T could just have a

12 moment. .

13 THE COURT; Sure.

14 MS, STRAUBER: Your Honor, I have only a few

1S questions.

16 THE COURT: Fine. You can ask as many as you want.
1? REDIRECT EXAMINATION

138 BY MS, STRAUBER:

1g oO. OFF 2y Parchen, on cross-examination, you were asked some
20 questions regarding a discussion with the defendant during the
21. pat down, is that right? Do you remember that?

ae A. Correct.

23 ©. Prior to the pat down, did the defendant --~

24 THR COURT: No, no. Wo "did the."
25 BY MS. STRAUBER:

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ST
64 pWoooH Parchen - redirect
Q. Prior to the pat down, what, if anything, did the defendant
say ta you?
A. He saicl something to the effect that he had a qun on him.
While I was patting him down, he stated the gun was in his
right pocket, because I asked him where it was.
MS. STRAUBER: Nothing further. Thank you.
RECROSS-EXAMINATION
BY MR. BAUM:
Q. The statement that you testified to prior to the pat down,
did that occur after you ordered him out of the car?
A. Which statement are you talking about?
O. Well, you said that prior te the ~- you just said that
prior to the pat down, Mr. Cooper said something about having a
Weapon.
A. Correct.
QO. And did that occur after you had ordered him out of the
car?
A. Correct.
QO. And after you had ordered him out of the car, was that
statement and the pat down simultaneous, at the same time?
A. Ne had to exit the vehicle first, before 1 could pat him
dawn .
G. Okay. So after he exited the vehicle, and you began to pat
him down, was that when he made this statement, J have a weapon
an me?
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a2

 

64pWoooll Parchen - recross

1 A. No. He was exiting the vehicle. He had one foot on the

2 pavement. He was stepping out, and he kind of gestured with

3 his hands halfway up. And he says, Offieer, something to the

4 affect that he had a gun on him. T satd okay, calm down.

> Q. At that point, did you withdraw a weapon?

6 A. Which --

7 Q. Did you take out your weapon?

fa A. No, I did not.

9 QO. Did you take, did you throw him against the car?

1a AL Ne, I did not.

bl QO. Did you ask him to do anything?

12 A. TFT asked him toe turn around,

i3 QO. 50, Mr. Cooper exits the vehicle and says, 7] have a weapon,
14 and you did not place your hands on him or take any actions ta
15 take him inta custody, is that what you're saying?

14 A. I physically, as I'm asking him to turn around, I'm close
17 to him. IT have my arms around him so he can't reach for any
is weapons, and as he's ~~ he's complying with me totally, he's
19 turning around, I'm right next to him with my arms next to his
20 so, God forbid, he reached down I could hold his arms up.
Zt QO. Prior to Mr, Cooper exiting the vehicle, did you hear
24 Officer Deloren ask the driver whether he had ever been
23 arrested before?
24 MS. STRAUBER: Objection. It's beyond the scope of
25 redirect.

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53
64 pWoooh Parchen - recross

1 THE COURT: fe certainly is, but I'll allow it.

2 THE WITNESS: Can you repeat that, please.

3 MR. BAUM: Can it be read back, your Honor?

4 THE COURT; Prior to Mr. Cooper exiting the vehicle,

5 did you hear Officer Deloaren ask the driver whether he had ever
6 been arrested before.

° AY FT dentt reeall.

8 MR. BAUM: No further questions.

9 THE COURT: ALL right. Anything else?

10 MS. STRAUBER: No, your Honor.

LL THE COURT: You may step dewn, Officer Parchen. Thank
12 you.

13 (Witness excused}

14 THE COURT: Ms. Strauber.

LS MS. STRAUBER: The government rests,

16 THE COURT: Mr, Baum, do you wish to --

i? MR. BAUM: Yes, J have a witness, Judge,

18 THE COURT: All right.

19 MR. BAUM: We'd like te call James Cox. JI believe
20 he's in the hall. May I get him.
Zi THE COURT: Yes. Ms. Strauber, may 1 see Government's
22 Exhibits 1] and 2, please.
23 JAMES TERRELLE COX,
24 called as a witness by the Defendant,

25 having been duly sworn, testified as follows:

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